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IN THE CIRCUIT COURT OF THE NINTH JUDICIAL
CIRCUIT IN AND FOR ORANGE COUNTY, FLORIDA
CIRCUIT CIVIL

JENNIFER SMITH,
Plaintiff,

CASE NO.:
2023-CA-016035-O
FLORIDA AGRICULTURAL &
MECHANICAL UNIVERSITY
BOARD OF TRUSTEES,

Defendant.
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DECLARATION OF JENNIFER SMITH
— EEE EY ENNIBER SMITH

I, Jennifer Smith, being over the age of eighteen, make this declaration on personal knowledge of
the following facts:

In 2004, I took a significant pay cut and left a secure place of employment after ten years
at a big law firm to do something I thought would love, teaching. But not only would I be teaching,
but I would be near the foundation of the start of a law school with a mission that resonated with
me — to teach students from underserved communities. Although my formal start date at Florida
A&M University College of Law was August 2004, I started in May 2004 without pay to create
the student clinics at the law school. The then-dean rewarded my efforts with a monetary grant
several months later. Teaching at FAMU COL allowed me to feel that I was continuing my “pro
bono” efforts in helping the students and helping the students help the community in service in the
clinics. I love teaching the students at the FAMU COL.

Teaching and Student Mentorship

Having ascended to partnership at the law firm, I knew that I could work hard and earn

PLAINTIFF'S
EXHIBIT

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tenure. I have always been one of the most published of the COL faculty and one of the most
advanced in learning new courses to teach our students. | have been proactive in integrating in the
law school curriculum cutting-edge course topics that respond to emerging global and societal
issues.

Significantly, I have proposed and taught several new courses that are billion-dollar
industry courses or at the forefront of the legal landscape in law or society, such as Fashion Law;
Marijuana Law & Policy; Intersectionality: Racism, Sexism, Classism, Colorism, Spiritualism &
the Law; International Arbitration; Sneaker Law; and Comparative Analysis of Global Marijuana
Laws, which have been well-received by students. These courses not only add to our curriculum's
diversity but also place our institution at the forefront of emerging legal education trends.

I have also proposed and been working on the creation of Historic Preservation Law and a
Survey of Electives Seminar, which would allow Students an introduction to various niche areas
of the law, such as Wine Law, Historic Preservation Law, Fashion Law, Marijuana Law, Natural
Gas Law, International Business Arbitration, in one class. These innovative courses not only
garner student interest but also position our law school as a forward-thinking institution. These
courses not only enrich our curriculum but also foster a more diverse and inclusive learning
environment. Personally, ensuring our students have access to a cutting-edge legal education also
keeps me actively engaged in new learning subjects.

Beyond classroom teaching, I am deeply committed to mentoring students, offering
guidance in academic pursuits, career choices, and professional development. This mentorship
extends to supervising independent studies and guiding students in their research projects,

discussing career opportunities, and connecting students with local lawyers in their areas of

interest.
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Scholarship

My scholarly contributions are a testament to my commitment to advancing legal
scholarship and continue to contribute significantly to the field of law. This year, I was excited
about the forthcoming publication of my book, WORTH THE FIGHT: ADVANCING THE CAUSE OF
EQUAL Pay. Additionally, my law review article, 4l-Powered Educational Equity: Leveraging
ChatGPT for Inclusive Legal Education, reflects my dedication to addressing contemporary legal
challenges and promoting inclusive education. This article has already been accepted for
publication in the Touro Law Journal of Race, Gender and Ethnicity for Winter 2024.

My recent publications include a new edition of A STUDENT ELECTRONIC DISCOVERY
PRIMER AN ESSENTIAL COMPANION FOR CIVIL PROCEDURE COURSES, SECOND ED. (2023), which
has been updated to reflect the latest developments in electronic discovery, including artificial
intelligence. It serves as an essential guide for students navigating this increasingly important area
of law. This is a companion book that I have used in my Civil Procedure (1L) class since the first
edition in 2016.

In addition, Colorism, Shades of Freedom (S. Cal. Rev. L. & Soc. Just., Vol. 32) was
published in 2023. In this law review article, I delve into the legal implications of colorism within
the United States justice system, highlighting an often-overlooked aspect of racial and social
justice. This article also includes a student essay within it to allow students to place significant
writing credits on their resumes. Also, Historically Black Colleges & Universities: A Model jor
American Education (14 Fla. A&M U. L. Rev. 103) was published in 2021 and is a comprehensive
law review article on HBCUs and Black history. I began this piece in 2016 and promised it to the
FAMU Law Review when it was seeking articles for its journal. This piece reflects on the role of

HBCUs in shaping American education, underscoring their significance and offering insights for
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educational reform.

Over the five-year span of the article’s development, several students assisted me with the
research, but one student was particularly helpful, and he is recognized as a co-author on the article
to allow him to develop his book of scholarship. My work on petitions for certiorari to the United
States Supreme Court drafted in 2018 and 2021, and a federal appellate brief drafted in 2019, not
only reflects my engagement with pressing legal issues but also demonstrates my commitment to
influencing national legal discourse. These writings involved civil rights (Section 1981 as well as
an area of Civil Procedure that the federal courts are grappling with) and equal pay issues (Equal
Pay Act). Issues like these enhance my teaching in Civil Procedure and other courses, as well as
bring the University one step closer to racial and gender equality.

My legal scholarship stands as a beacon of influence and authority. My research and
thought-provoking insights have not only captured the attention of peers but have also resonated
profoundly within the highest echelons of the judicial system. My work has been cited by an array
of prestigious courts, including state Supreme and federal appellate and district courts, a testament
to the practical impact and relevance of my scholarship. These citations are a clear indicator of the
weight and significance my contributions hold in shaping legal discourse and practice.
Furthermore, the recognition from fellow scholars and authoritative legal treatises underscores the
depth, originality, and rigor of my work. My scholarship not only enriches the academic

community but also actively informs and guides judicial reasoning, shaping the contours of legal

precedent and policy.
Service
My service to the community through diverse yet interconnected activities reflects a

commitment to leveraging my professional skills and personal passion for the betterment of
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society. These roles have allowed me to make Significant contributions in areas of democratic
participation, legal advocacy, educational development, and community empowerment, resulting
in recognition as a “Community Star” from the African American Women’s History Month
Project, Inc. in 2020. I remain dedicated to continuing these efforts, aiming to make a lasting and
positive impact on our COL, University and broader community. -

] also created and funded (co-sponsoring with another COL professor) a $500 law review
scholarship to encourage student engagement in research and publication of student scholarship.
In addition, I donated $10,000 to the University in 2019 for a student emergency fund, but because
the University/COL seemed not to be able to figure out how to advance these “emergency” funds
to students, the money was given to another HBCU.

Legal Battles

Equal Pay

While leading in faculty publications, teaching excellence and service, I was also engaged
in a decade-long battle against the University for equal pay. I have not only carved a path as a
formidable law professor but also emerged as a trailblazer for gender equity in the legal profession.
This relentless pursuit of justice transcended personal struggle, molding me into a professor who
embodies resilience, integrity, and an unwavering commitment to fairness. In the classroom, these
experiences have translated into a more nuanced and empathetic approach to teaching. My ability
to interweave real-world legal battles with academic rigor has not only captivated students but also
instilled in them a profound understanding of the law’s transformative power.

By sharing my own public experiences of confronting systemic disparities, 1 hope to have
illuminated the path for future lawyers, equipping them with the courage and moral compass to

challenge injustices. Furthermore, my fight for equality has had a resounding impact on my
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development as a legal educator. It has deepened my engagement with issues of social justice,
workplace equity, and the complexities of legal advocacy. My teachings are now imbued with a
richness and authenticity that only comes from lived experience, fostering an environment where
critical thinking and social consciousness are not just encouraged but are deemed essential.

As a mentor, I have become an inspiring figure, whose journey resonates profoundly with
students, particularly those who face or witness inequities. I have transformed the classroom into
a crucible where the next generation of lawyers are not only educated but also galvanized to
become agents of change. Significantly, my fight for equal pay has also contributed substantially
to advancing gender equity in the law. My battle, which echoes the struggles of many women in
academia and beyond, has raised critical awareness about gender-based pay disparities and
systemic biases in the legal field.

My ultimate victory resulted in 1) individual salary increases for women up to $23,000, 2)
closing the $20,000 pay gap between men and women holding the title of “associate dean” and 3)
obtaining overdue promotions for women faculty is not just a personal triumph but a landmark
achievement in the ongoing struggle for gender equality. Notwithstanding the equal pay battle, I
have continued to be one of the few leaders in scholarship productivity and teaching excellence at

the COL. That said, the battle for gender equality continues as the gender pay inequities remain

fresh.

FMLA

In addition to the equal pay battles, I was compelled to file an FMLA (Family and Medical
Leave Act) complaint against the University while on FMLA leave in the fall of 2021 because
Dean Keller, Associate Dean Cooper, and the University general counsel were reassigning me on

my return from a law professor from FMLA to work in the University general counsel’s office,
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specifically under the supervision of the University general counsel to perform legal tasks, and
threatening my employment for failure to comply. This was in stark violation of FMLA provisions.
The Department of Labor found the University in violation and required it to return leave hours to
me, and this has yet to be confirmed as done.

Performance

Notwithstanding my legal battles with Defendant and its negative, retaliatory responses to
me in return, I have continued to stand as a model of excellence for the University, the law school
and the students.

My evaluations from the deans — only 3 in ten years even though the Faculty Handbook

required evaluations annually — have been superior on a scale of 1-5 with 5 the highest.!

Dean Pernell 2012-13 Pernell 2013-14 Keller 2021-22

Teaching 5.0 5.0 No rating but

Effectiveness comments: “You are an

active and engaged

teacher and scholar.”

Research 5.0 4.8 4.8

Service 4.6 5.0 5.0

Other Univ. Duties 5.0 5.0 5.0

Similarly, my student evaluations have overall been superior. Some of the sample
comments from the last few years in my courses are below.

Civil Procedure (79 students-1Ls): “Demands excellence from her students. Fair professor. She
provides each student with the same opportunity as others. Professor Smith is the most hands on
professor at FAMU, which helps us better understand the material and how it applies or does not
apply in the legal field. Professor Smith is very intelligent and knows how to teach.”

Comparative Analysis of Global Marijuana Laws, Stetson Law School in the Hague,
Netherlands: “Professor Smith was phenomenal. Prof, Smith did a great job of providing material

! The evaluations for all faculty ended in 2014 when I filed a gender pay lawsuit, and the evaluations revealed
that my male comparator was being paid more than I was, but he was not performing at the same high level of
excellence as I was in teaching, scholarship, or service.

2 Based on the standard universal meanings of 1-5 rating,

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that was not biased and presented both perspectives for and against. Great professor in an area of
law that is newer and constantly changing. This class was great.”

Remedies (12 students -2Ls/3Ls): “One of, if not the best professor I have taken at FAMU Law.
She asks a lot of us as students, I think this was the only class we actually were required to read
the whole textbook. She assigned us an additional oral argument and memo assignment. Professor
Smith was very helpful and creative in the ways that she taught this class. Her methods will
indefinitely stick with me as I pursue my path in the law field. She was always willing to help
students understand the material, but made sure that they understood that in order to be successful

in her class, students must also do their part and come prepared. She holds her students to a high
standard and I believe that is what helps them be successful.”

Fashion Law (9 students -2Ls/3Ls): “Professor Jennifer Smith was very professional, engaging,
knowledgeable on the subject area of Fashion Law and very helpful and informative with insight
on writing upper-level writing papers and Seminar papers.”

Health Care Law (14 students -2Ls/3Ls): “Truly enjoyed Professor Smith's course on Health
Care Law. I now have a well-rounded understanding of HCL and I look forward to working in the
Health Care Law field. I know what I have learned in class will help me in practice. Overall great
professor & the course definitely was a good survey course for health care law.”

Civil Procedure (60 students -1Ls): “Great class, well organized. Great Professor! Blessing to
FAMU COLLEGE OF LAW. I have never in my collegiate experience had a professor like
Jennifer Smith. She has to be tough because civil Procedure is tough, she is very particular because
courts will be particular. Professor Smith truly wants the best for her students and will do whatever
it takes (zooms, office hours, emai Is) to ensure that students understand any misconceptions. I will
never forget her and I will always remember what she taught me.”

Marijuana Law & Policy (16 students -2Ls/3Ls): “The material in this course was very
interesting! The controversial material made class discussions very engaging. The professor was
knowledgeable and offered legals tips that we can use outside of the class. I feel like a better writer
after taking this course.”

Civil Procedure (15 students, evening program-1Ls): “Professor Smith was phenomenal. Her
teaching method is highly engaging, and she does a great job communicating the various nuances
of the material covered as it relates to the class examination, bar examination, and in practice. She
also makes the class fun. I will look to take as many classes with Professor Smith as possible in
the future. Being a part time student that works a demanding full time job, Professor Smith’s skill
at teaching and ability to make the class time enjoyable makes going through the grind a lot easier
to deal with. This course was reading-heavy for sure! Professor Smith gave helpful examples and
would go over any questions we had thoroughly to ensure our understanding.”

My student evaluations estimated average score on the “overall rating of instructor” is

below.
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Student Evaluations

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Sadly, because of my excellence at my job as a law professor and my love for it, the only
way to finally get rid of me would have to be a manufactured charge of misconduct to circumvent
my tenure security. I have dealt with much in the way of nonsense at the COL, but my love for
teaching and the unique mission of the law school allowed me to enjoy my job there, nonetheless.
There is no money that can compensate me for my love of teaching or repair my professional
reputation or resume.

As a tenured law professor at the COL, my work is not simply what I do — it is who I am.
It is my contribution to the social order of this community and my source of great satisfaction,
fulfillment, and accomplishment. I am the sole caretaker of my elderly father, who I cannot relocate
because of his medical condition. Despite the heavy responsibility of caring for my father, teaching
and serving the students at the COL allows me to do something that I love every single day.
Terminating me for a manufactured “cause” that is pretext for retaliation would destroy my
reputation, nullify my scholarship, breach my employment contract, penalize me for exercising
my right to equal pay and the right to petition, and likely prevent me from ever teaching again.

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

AND CORRECT TO THE BEST OF MY KN OWLEDGE INFORMATION AND
BELIEF.

4 CW

Jennifer Smith ~

Date
